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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

  Nathaniel K. Owusu,
  a.k.a. Nathaniel Porter,

                         Plaintiff,        Case No. 16-cv-12490

  v.                                       Judith E. Levy
                                           United States District Judge
  Michigan Department of
  Corrections Pain Management              Mag. Judge Mona K. Majzoub
  Committee, et al.,

                         Defendants.

  ________________________________/

  ORDER ADOPTING REPORT AND RECOMMENDATION [138]

       Before the Court is Magistrate Judge Majzoub’s Report and

 Recommendation recommending the Court (1) deny Defendants Corizon

 Health, Inc., Wilson, Papendick, Buller, Grahn, Paquette, Millette,

 Hutchinson, and Johnson (the “Corizon Defendants”) Motion for

 Discovery Sanctions for Failure to Comply with Court Order (Dkt. 109),

 (2) deny as moot Plaintiff’s Motion for Enlargement of Time in Which to

 Reply to Defendant Corizon’s Response to Plaintiff’s Motion to Strike

 (Dkt. 120), and (3) deny Plaintiff’s Motion for Sanctions Against

 Defendant Corizon for Failure to Serve Motion Papers Upon Plaintiff in
                                       1
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 a Timely Manner and Abrogating His Opportunity to Respond/Reply

 (Dkt. 120). The parties were required to file specific written objections

 within 14 days of service. Fed. R. Civ. P. 72(b)(2); E.D. Mich. L.R. 72.1(d).

       Plaintiff filed a paper (Dkt. 145), which indicates he has already

 complied with the September 7, 2017 Order in Plaintiff’s Motion for

 Sanctions (Dkt. 109) by mailing defendants his discovery responses. (Dkt.

 145 at 4.) Defendants wrote back to plaintiff, requesting that he sign a

 new authorization for release of medical records. (Id.) Plaintiff claims he

 mailed the requested authorization to defendants on or about December

 12, 2017. (Id. at 2.) If this is the case, then defendants were obligated to

 notify the Court and withdraw their motion, which they did not do.

       The Court has nevertheless carefully reviewed the Report and

 Recommendation, and concurs in the reasoning and result. Accordingly,

       The Report and Recommendation (Dkt. 138) is ADOPTED;

       The Corizon Defendants’ Motion for Discovery Sanctions for Failure

 to Comply with Court Order (Dkt. 109) is DENIED;

       Plaintiff’s Motion for Enlargement of Time in Which to Reply to

 Defendant Corizon’s Response to Plaintiff’s Motion to Strike (Dkt. 120) is

 DENIED as MOOT; and


                                      2
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       Plaintiff’s Motion for Sanctions Against Defendant Corizon for

 Failure to Serve Motion Papers Upon Plaintiff in a Timely Manner and

 Abrogating His Opportunity to Respond/Reply (Dkt. 120) is DENIED.

       IT IS SO ORDERED.

 Dated: August 29, 2018                   s/Judith E. Levy
 Ann Arbor, Michigan                      JUDITH E. LEVY
                                          United States District Judge


                      CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on August 29, 2018.
                                          s/Shawna Burns
                                          SHAWNA BURNS
                                          Case Manager




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